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                      may extend the period for filing a complaint for good cause

           shown
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                                       /s/ Kyle T. Bateman
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                                 /s/ Kyle T. Bateman
